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                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF CALIFORNIA

                                   MEMORANDUM

Honorable Robert E. Coyle
Senior United States District Judge
Fresno, California

                                            RE:   Raul Flores ALEMAN
                                                  Docket Number: 1:95CR05106-001 REC

Your Honor:

On April 19, 2005, the undersigned submitted a Probation Form 12C requesting that a
warrant be issued in Mr. Aleman's behalf. The request was due to his leaving the
community corrections center in Bakersfield without permission and his whereabouts being
unknown.

Mr. Aleman contacted the probation officer and stated that he is living with his mother
located at 21129 Universal Street, Los Hills, California, 93249.

The probation officer would still request that the warrant be issued due to Mr. Aleman's
admitted use of heroin and failure to comply with the agreed upon modification of his terms
and conditions of supervision pertaining to placement in the Turning Point Community
Corrections Center. The undersigned believes that Mr. Aleman is a potential threat to
himself and others due to his continued use of heroin.

                                  Respectfully submitted,
                                  /s/ Thomas A. Burgess

                                THOMAS A. BURGESS
                         Senior United States Probation Officer

Dated:         April 20, 2005
               Bakersfield, California
               TAB:dk

                                    /s/ Rick C. Louviere
REVIEWED BY:
                      RICK C. LOUVIERE, Supervising United States Probation Officer


cc:      Dawrence W. Rice, Jr.
         Assistant United States Attorney


                                                                                    Rev. 03/2005
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Re:   Raul Flores ALEMAN
      Docket Number: 1:95CR05106-001 REC



THE COURT ORDERS:

XXX   The Court Approves
      The Court Disapproves
      Other:



 April 20, 2005                    /s/ ROBERT E. COYLE
Date                               Name of Judicial Officer




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                                     2                              M E M O -C T .M R G
